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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF TEXAS
                                SAN ANTONIO DIVISION


SIMPLYFRESCO, LLC,                            §
                                              §
                  Plaintiff,                  §               SA-20-CV-00893-FB
                                              §
vs.                                           §
                                              §
LA TORTILLA FACTORY INC.,                     §
                                              §
                  Defendant.                  §

                                            ORDER

       Before the Court in the above-styled cause of action is SimplyFresco’s Rule 12(b)(6)

Motion to Dismiss [#12], which argues that La Tortilla Factory fails to state a counterclaim

against SimplyFresco.     In response to the motion, La Tortilla Factory filed an Amended

Counterclaim [#19].     The Court will therefore dismiss as moot SimplyFresco’s Motion to

Dismiss in light of the amended pleading.

       IT IS THEREFORE ORDERED that SimplyFresco’s Rule 12(b)(6) Motion to Dismiss

[#12] is DISMISSED WITHOUT PREJUDICE to refiling an amended motion challenging the

amended pleading.

       SIGNED this 16th day of October, 2020.




                                    ELIZABETH S. ("BETSY") CHESTNEY
                                    UNITED STATES MAGISTRATE JUDGE
